Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 1 of 12 Page ID
                                #:26522



 1 JEFFREY M. HAMMER, Bar No. 264232
     jhammer@bsfllp.com
 2
   BOIES SCHILLER FLEXNER LLP
 3 725 South Figueroa Street 31st Floor
   Los Angeles, CA 90017-5524
 4
   Telephone: 213-629-9040 / Fax: 213-629-9022
 5
 6 DAVID G. WILLE (admitted pro hac vice)
     david.wille@bakerbotts.com
 7 JEFFERY D. BAXTER (admitted pro hac vice)
 8   jeff.baxter@bakerbotts.com
   BRIAN D. JOHNSTON (admitted pro hac vice)
 9   brian.johnston@bakerbotts.com
10 BAKER BOTTS L.L.P.
   2001 Ross Avenue, Suite 900
11 Dallas, TX 75201
12 Telephone: 214.953.6500 / Fax: 214.953.6503
   Attorneys for Defendants
13
                       UNITED STATES DISTRICT COURT
14         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15 MACOM TECHNOLOGY                         Case No. CV 16-02859 CAS (GJSx)
16 SOLUTIONS HOLDINGS INC. and              DEFENDANTS’ OPPOSITION TO
   NITRONEX, LLC,                           MACOM’S MOTION PURSUANT
17                                          TO FED. R. CIV. P. 26(b)(5)(B)
                 Plaintiffs,                FOR DETERMINATION OF THE
18                                          PROPRIETY OF INFINEON’S
       v.                                   CLAIM OF PRIVILEGE
19
20 INFINEON TECHNOLOGIES AG, et
   al.,
21
22              Defendants.

23
24
25
26
27
28
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 2 of 12 Page ID
                                #:26523



 1       I.   INTRODUCTION
 2                                                         Defendant Infineon Technologies
 3 AG (“Infineon AG,” and collectively with Infineon Americas Technologies
 4 Corporation, “Defendants”)
 5
 6                                                     .
 7        On July 12, 2018, after discovering the inadvertent production of attorney-
 8 client privileged materials related to                              , Defendants sent a
 9 clawback letter to Nitronex, LLC and MACOM Technology Solutions Holdings,
10 Inc. (collectively, “Plaintiffs”). Ex. 1, Clawback Letter. Despite obligations to
11 destroy, return, or sequester these documents, Plaintiffs relied on and used them for
12 the next month.       In numerous emails, Plaintiffs quoted privileged materials,
13 indicating that that they continued to access and review these documents. Plaintiffs
14 even used an unredacted privileged document while examining a witness at a
15 deposition. See Dkt. 625-11.
16        Plaintiffs cannot excuse their noncompliance with the Rules of Procedure and
17 disregard for Defendants’ sensitive information. More importantly, Defendants’
18 clawed-back documents are in fact privileged. Plaintiffs’ arguments to the contrary
19 rest on unsupported speculation. For following reasons, Plaintiffs’ request to pierce
20 the attorney-client privilege should be rejected.
21      II.   BACKGROUND
22
23
24
25
26
27
28

                                              1
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 3 of 12 Page ID
                                #:26524



 1
 2
 3
 4
 5
 6
 7
 8                b. The Challenged Documents
 9          The clawed-back documents challenged in Plaintiffs’ motion come from the
10 same period
11
12
13                                                                       .
14                      i. Dkt. 627-2 (Ex. 1 to Plaintiffs’ Brief, INFMAC_03613182)
15                      identifies the first two redactions in this document as reflecting
16 legal advice that
17                                                               , was forwarding legal
18 advice                                                        . Indeed, these portions
19 discuss
20                       .
21          The latter two redactions are requests for legal advice
22
23                                         , these communications facilitated the advice
24
25   1
         Gerhard Wolf, when questioned about one of the challenged documents,
26
     2
27     Plaintiffs misidentify the Bates number on this document. The correct number,
     reflected here, is INFMAC_0361318.
28

                                              2
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 4 of 12 Page ID
                                #:26525



 1 given
 2                             . The communications themselves reveal their legal nature,
 3
 4                                         .
 5                        ii. Dkt. 627-3 (Ex. 2 to Plaintiffs’ Brief, INFMAC_0359848)
 6
 7                                                                                      .
 8 Plaintiffs posit that
 9                                                                                      .
10 Plaintiffs’ unsupported presumption is simply wrong. As discussed above,
11
12
13
14                               .
15                    iii. Dkt. 627-4 (Ex. 3 to Plaintiffs’ Brief, INFMAC_0356157);
                           Dkt. 627-5 (Ex. 4 to Plaintiffs’ Brief, INFMAC_0355772)
16
           The material and redactions                                            .   The
17
     redacted materials
18
19
                                                         . The redacted portions of these
20
     documents are replete with legal advice
21
22
                                                                              .
23
           Plaintiffs once again emphasize that this advice was given before this lawsuit
24
     began, which is irrelevant.
25
26
27
28

                                               3
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 5 of 12 Page ID
                                #:26526



 1
 2
 3                    iv. Dkt. 627-6 (Ex. 5 to Plaintiffs’ Brief, INFMAC_0366750)
 4        Exhibit 5 likewise reflects legal advice
 5                    . The redacted portion itself clearly indicates the involvement of
 6 counsel
 7      . Plaintiffs do not dispute this. Yet, they challenge the redaction
 8                                                 . Plaintiffs speculate that the redacted
 9 material is
10                          . Plaintiffs’ strained reading of the document does not add
11 up. The redacted portion itself confirms
12
13                                                                            .
14               c. The Current Dispute
15        On July 12, Defendants sent their clawback letter to Plaintiffs.          Ex. 1,
16 Clawback Letter. Defendants instructed Plaintiffs to comply with Federal Rule of
17 Civil Procedure 26(b)(5) by returning or destroying clawed-back documents. Id.
18 Plaintiffs’ suggestion that the claw-back somehow impeded their deposition of
19 Simon Ward the next day is unfounded. Plaintiffs did not use a single one of the
20 identified documents at Mr. Ward’s deposition. Ex. 3, Ward Dep. Index of Exhibits.
21        Nearly a week passed without Plaintiffs ever responding to or even
22 acknowledging Defendants’ clawback letter. The first mention occurred on July 18
23 during Plaintiffs’ deposition of Gerhard Wolf when Defendants discovered that
24 Plaintiffs’ counsel was questioning the witnesses using an unredacted copy of one of
25 the clawed-back documents. Ex. 2, Wolf Tr. at 133. Defendants’ counsel objected
26 and requested that the document be destroyed. Id. at 133–34, 233–34. Plaintiffs’
27 counsel refused and retained the unredacted document over Defendants’ objection.
28 Id. at 134.

                                               4
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 6 of 12 Page ID
                                #:26527



 1         After the deposition, Defendants sent Plaintiffs another letter, again
 2 instructing them to comply with Rule 26 and cease using Defendants’ privileged
 3 information. Dkt. 625-11. Plaintiffs responded with excuses, blaming the date of
 4 Defendants’ original clawback letter for their violation of Rule 26, even though this
 5 violation came a week after the clawback letter. Dkt. 627-7 at July 19, 2018 10:56
 6 AM email. Plaintiffs took the position that Defendants had “yet to trigger any
 7 obligation by [Plaintiffs] by substantiating [their] claims of privilege,” but
 8 ultimately agreed to “sequester[] these documents” under Rule 26(b)(5)(B). Id.
 9         Plaintiffs’ promise to “sequester[]” the privileged documents proved to be an
10 empty one. Plaintiffs instead continued to freely use the documents as they saw fit,
11 in contravention of Rule 26’s prohibition.         On July 31, the parties conferred
12 regarding the privileged status of the five documents subject to Plaintiffs’ motion.3
13 Soon afterwards, Plaintiffs sent their portion of a draft email to raise this dispute
14 with the Court.       Dkt. 627-7 at July 31, 2018 6:05 PM email.            Rather than
15 sequestering the privileged documents, Plaintiffs apparently used the redacted
16 portions of the documents to craft their arguments, and even directly quoted from
17 the redacted portions and expressed their intention to simply email the privileged
18 documents to the Court—without following the Court’s in camera inspection
19 procedures. Id. Defendants objected to Plaintiffs’ continued use of privileged
20
     3
21     Plaintiffs cast Defendants as unwilling and unprepared to meet and confer. Not so.
     Leading up to the parties’ July 31 meet and confer, Defendants responded to each of
22   Plaintiffs’ requests to meet and confer, offering to discuss the mutual
     supplementation of privilege logs, which Plaintiffs identified as the issue at that
23   time. Dkt. 627-7 at, e.g., July 31, 2018 9:15 AM email. Eventually, after Plaintiffs
     clarified their desire to challenge the substance of Defendants’ privilege claim, the
24   parties scheduled a conference. Id. at July 31, 2018 2:37 PM email. But Plaintiff
     did not identify the particular documents in dispute until just thirty-nine minutes
25   before the conference, and even then, Plaintiffs misidentified two of the five
     documents in dispute. Id. at July 31, 2018 3:21 PM email; id. at July 31, 2018 6:05
26   PM email. And during the meet and confer, it was Plaintiffs—not Defendants—
     who brought no substance to the table. Plaintiffs stated that the five documents
27   were not privileged but could not provide any basis for their position. Id. at July 31,
     2018 5:59 PM email.
28

                                               5
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 7 of 12 Page ID
                                #:26528



 1 materials, despite Rule 26’s obligation to destroy, return, or sequester. Id. at, e.g.,
 2 August 1, 2018 12:46 PM email. And Defendants objected to any use or sharing of
 3 privileged documents that did not comply with this Court’s procedures for
 4 presenting documents for in camera review, which Defendants identified for
 5 Plaintiffs. Id.4
 6          Through the parties’ discussions, Plaintiffs also attacked Defendants’
 7 privilege logs. Id. Although Plaintiffs complain that Defendants initially logged
 8 withheld documents but not redacted documents, Plaintiffs did the same thing.
 9 After Plaintiffs raised the issue of also logging redacted documents (something that
10 neither side had done), Defendants offered to confer regarding mutual
11 supplementation of logs. Id. at July 20, 2018 5:50 PM email. Without responding
12 to Defendants’ offer, Plaintiffs served a supplemental log on August 6, 2018, for the
13 first time including redacted documents. Ex. 4. Two days later, Defendants served
14 a privilege log for the five documents challenged by Plaintiffs’ current motion.5
15 Dkt. 625-9.
16       III.   LEGAL STANDARDS
17          Under Federal Rule of Civil Procedure 26(b)(5)(B) (emphasis added):
18
19   4
        Even in this motion, Plaintiffs again disregarded the Court’s in camera
     requirements that Defendants had identified. The Court’s website states, “A party
20   seeking to have the Court review document(s) in camera, must file a Request and
     proposed order via the Court's CM/ECF system.” Plaintiffs never request that the
21   Court review the privileged material in camera. Instead, Plaintiffs decided to file
     the privileged information under seal. Dkt. 626 at 1. Plaintiffs also misrepresented
22   that their motion to seal was unopposed. The parties have an agreement not to
     oppose the filing of one another’s confidential materials under seal. But the parties
23   have no such agreement respecting privileged information. Plaintiffs never
     conferred on this specific request. If they had, Defendants would have again
24   pointed Plaintiffs to the Court’s in camera procedures and opposed the Plaintiffs’
     unilateral decision to provide the privileged materials to the Court without
25   requesting that the Court review the privileged material in camera.
     5
26     For the remaining clawed-back documents, Defendants were working to prepare a
     privilege log when the parties reached a preliminary settlement on August 10. Now
27   that the stay of this action has ended, Defendants have resumed their preparation of
     a privilege log for these remaining documents.
28

                                              6
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 8 of 12 Page ID
                                #:26529



 1            If information produced in discovery is subject to a claim of privilege
              or of protection as trial-preparation material, the party making the claim
 2            may notify any party that received the information of the claim and the
              basis for it. After being notified, a party must promptly return,
 3            sequester, or destroy the specified information and any copies it has;
              must not use or disclose the information until the claim is resolved;
 4            must take reasonable steps to retrieve the information if the party
              disclosed it before being notified; and may promptly present the
 5            information to the court under seal for a determination of the claim.
 6 “The attorney-client privilege applies when (1) legal advice is sought (2) from a
 7 professional legal advisor in his capacity as such, and (3) the communications
 8 relating to that purpose (4) are made in confidence (5) by the client.” Griffith v.
 9 Davis, 161 F.R.D. 687, 694 (C.D. Cal. 1995). Because Defendants meet these
10 elements, Plaintiffs cannot intrude into protected attorney-client communications.
11      IV.      ARGUMENT
12                  a. The clawed-back documents do not lose privileged status simply
                       because they involve communications between non-lawyers.
13
              Plaintiffs cite no authority for the proposition that a communication must
14
     involve an attorney to be privileged. Rather, Plaintiffs’ own cases stand for the
15
     opposite proposition. Hynix Semiconductor Inc. v. Rambus Inc., CV-00-20905-
16
     RMW, 2008 WL 350641, at *3 (N.D. Cal. Feb. 2, 2008) (“The fact that [a non-
17
     lawyer employee], and not [counsel], conveyed [counsel’s] legal advice to [non-
18
     lawyer directors] would not necessarily be fatal to the attorney-client privilege.”).
19
     Where, as here, non-lawyers (                                               ) transmit to
20
     other non-lawyers advice they received from counsel (                            ), these
21
     communications are privileged.         United States v. ChevronTexaco Corp., 241
22
     F. Supp. 2d 1065, 1077 (N.D. Cal. 2002).              The privilege covers even those
23
     communications among Infineon AG’s non-lawyers describing the legal advice to
24
     be sought                                        , especially where these non-lawyers
25
     eventually sought this advice. See id. (“Materials, transmitted between nonlawyers,
26
     that reflect matters about which the client intends to seek legal advice are
27
     comparable to notes a client would make to prepare for a meeting with her
28

                                                  7
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 9 of 12 Page ID
                                #:26530



 1 lawyer . . . . Therefore, internal communications that reflect matters about which the
 2 client intends to seek legal advice are protected” (emphasis added)); see
 3 Decl. ¶ 8 (discussing the latter two redactions in Exhibit 1 to Plaintiffs’ motion).
 4               b. The clawed-back documents involve legal, not business, advice.
 5                                                    gave legal advice relating to legal
 6 topics and risks, such as
 7
 8
 9
10
11                                             .    The business purpose for which
12 businesspeople seek legal advice does not change the legal character of the advice
13 provided by the legal department.
14
15
16         This Court has acknowledged as much. A party “is entitled to obtain legal
17 advice on which it later bases its business decisions as well as on its business
18 decisions themselves.”        Polaris Innov. Ltd. v. Kingston Tech. Co., Inc.,
19 CV1600300CJCRAOX, 2017 WL 8220457, at *4 (C.D. Cal. June 16, 2017). In
20 Polaris, this Court found that the attorney-client privilege protected two sets of
21 diligence documents prepared by a party’s legal department, even though these
22 documents reflected legal advice that the party used to make business decisions. Id.
23 at *4–5. The first set of documents contained technical due diligence regarding a set
24 of patents that the party was considering acquiring. Id. These documents were
25 privileged because the party generated them to “ultimately . . . make a business
26 decision (whether to buy the patents and at what price), but more immediately, and
27 specifically as it related to the attorneys involved, it was done in furtherance of [the
28 party’s] obtaining legal advice.” Id. at *4. This Court reached a similar conclusion

                                               8
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 10 of 12 Page ID
                                 #:26531



  1 on the second set of documents, which involved the attorneys’ post-acquisition
  2 analyses regarding potential licensing opportunities, prices, and infringers. Id. at *6.
  3         In the present case, as in Polaris, Infineon AG started a legal analysis,
  4 focusing on legal questions
  5
  6               . Communications                       reflect the legal advice of counsel
  7 and they are privileged, whatever use the businesspeople make of them.
  8              c. Defendants have substantiated the privilege through their
                     updated log and
  9         Regardless of Plaintiffs’ complaints about Defendants’ privilege log,
 10           details each redacted statement in each challenged document.
 11 ¶ 6 (discussing Exhibits 2 and 5 to Plaintiffs’ motion); id. ¶ 7 (discussing Exhibits 3
 12 and 4 to Plaintiffs’ motion); id. ¶ 8 (discussing Exhibit 1 to Plaintiffs’ motion).
 13
 14
 15
 16             . Between                    explanation and Defendants’ privilege log,
 17 there can be little doubt that the challenged documents are privileged
 18 communications with counsel. Defendants have substantiated the privilege and
 19 Plaintiffs’ motion should be denied.
 20               d. Plaintiffs’ failures to sequester the clawed-back documents and
                     violations of Rule 26 warrant exclusion of these documents.
 21
            “Rule 26(b)(5)(B) requires that [a party in receipt of clawed-back material]
 22
      return the information or present it to the court upon a claim of privilege.” Piasa
 23
      Comm. Interiors, Inc. v. J.P. Murray Co., CIV. 07-617-DRH, 2010 WL 1241563, at
 24
      *2 (S.D. Ill. Mar. 23, 2010) (emphasis original). In other words, once Defendants
 25
      claimed privilege over the clawed-back documents, Plaintiffs had to “promptly
 26
      return, sequester, or destroy” these documents and could no longer freely “use”
 27
      them. FED. R. CIV. P. 26(b)(5)(B). Plaintiffs instead “divine[d] justice on [their]
 28

                                                9
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 11 of 12 Page ID
                                 #:26532



  1 own,” deciding they could use the privileged information as they saw fit pending the
  2 Court’s resolution. Piasa, 2010 WL 1241563 at *2. Plaintiffs ignored their Rule 26
  3 obligations by using clawed-back documents during a deposition, studying them
  4 during the meet and confer process, threatening to transmit them by email (outside
  5 the proper in camera and sealing protocols), and filing them with the Court under
  6 the guise that Defendants did not oppose their submission under seal. Plaintiffs
  7 even cavalierly took the position that it had no Rule 26 obligations with respect to
  8 these documents well after the issue had been brought to light: “[Defendants] ha[ve]
  9 yet to trigger any obligation from [Plaintiffs] by substantiating [their] claims of
 10 privilege.” Dkt. 627-7 at July 19, 2018 email.
 11           These actions were entirely improper and unjustified. Plaintiffs’ complete
 12 disregard for their Rule 26 obligations is sufficient to preclude them from using the
 13 clawed-back documents in this case for any purpose. Courts have barred the use of
 14 clawed-back documents by parties, like Plaintiffs, who continue to review, use, and
 15 file such documents, despite a clawback letter and opposing counsel’s repeated
 16 objections. Piasa, 2010 WL 1241563 at *2; Lawrence v. Dependable Med. Transp.
 17 Servs., L.L.C., 2:13-CV-0417-HRH, 2014 WL 2510628, at *2 (D. Ariz. June 4,
 18 2014) (“[P]laintiffs took it upon themselves to make a determination as to whether
 19 the emails had been inadvertently disclosed and whether the privilege had been
 20 waived. Such conduct does not comply with Rule 26(b)(5)(B). Because plaintiffs
 21 have failed to comply with Rule 26(b)(5)(B), plaintiffs will not be allowed to use the
 22 emails.”). So too should Plaintiffs be barred from using these documents under
 23 these circumstances.
 24      V.      CONCLUSION
 25           For the foregoing reasons, Plaintiffs’ motion should be denied in its entirety.
 26 In addition, Plaintiffs should be barred from using the challenged documents for any
 27 purpose in this litigation as a sanction for their disregard of their Rule 26
 28 obligations.

                                                 10
Case 2:16-cv-02859-CAS-GJS Document 637 Filed 10/09/18 Page 12 of 12 Page ID
                                 #:26533



  1 Dated: October 9, 2018             BAKER BOTTS LLP
  2
                                       By: /s/ Jeffery D. Baxter
  3                                    David G. Wille (admitted pro hac vice)
  4                                    david.wille@bakerbotts.com
                                       Jeffery D. Baxter (admitted pro hac vice)
  5                                    jeff.baxter@bakerbotts.com
  6                                    Brian D. Johnston (admitted pro hac vice)
                                       brian.johnston@bakerbotts.com
  7                                    James C. Williams (admitted pro hac vice)
  8                                    james.williams@bakerbotts.com
                                       Charles Yeh (admitted pro hac vice)
  9                                    charles.yeh@bakerbotts.com
 10                                    Josue Caballero (admitted pro hac vice)
                                       josue.caballero@bakerbotts.com
 11
                                       BAKER BOTTS L.L.P.
 12                                    2001 Ross Avenue, Suite 900
 13                                    Dallas, TX 75201
                                       Telephone: 214.953.6500
 14                                    Fax: 214.953.6503
 15
                                       ATTORNEYS FOR DEFENDANTS
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                          11
